                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

 STEVEN E. GORRELL, on behalf of himself
 and all others similarly situated,

                                Plaintiff,
                                                                 CA No. 5:21-CV-00129
                  v.
                                                       COLLECTIVE ACTION COMPLAINT
 WAKE COUNTY,

                                Defendant.


        Plaintiff Steven E. Gorrell (“Plaintiff Gorrell”), by and through counsel, on behalf of

himself and all others similarly situated (collectively, “Plaintiffs”), hereby sets forth this collective

action against Wake County (“Defendant”) and alleges as follows:

                                 PRELIMINARY STATEMENT

        1.       This action arises out of Defendant’s systemic, company-wide willful failure to

compensate Plaintiffs for all overtime hours worked at the appropriate overtime rate, in violation

of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. Defendant’s pay practices and

policies were in direct violation of the FLSA.

        2.       Plaintiff Gorrell is a paramedic for Defendant, compensated on an hourly basis,

who works the “Night” shift. Throughout the relevant period, Defendant maintained a corporate

policy of failing to properly compensate paramedics for overtime hours worked at the appropriate

overtime rate.

        3.       Throughout the relevant period, Defendant maintained a company-wide policy

whereby a paramedic’s workweek for FLSA purposes started at 00:00 on Saturday and ended at

23:59 on Friday. Defendant’s policy required paramedics to work alternating weekly schedules,




             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 1 of 14
whereby one week a paramedic would work three (3) twelve-hour shifts (hereinafter, “Week A”)

and the following week work four (4) twelve-hour shifts (hereinafter, “Week B”).

        4.     Throughout the relevant period, for Plaintiff Gorrell and other similarly situated

paramedics working the “Late Peak” or Night shift—which meant a portion of their hours worked

was on two separate days—Defendant maintained a corporate policy requiring these paramedics

to list all of their hours on the time slot for the day the paramedics first started their shift. For

example, if Plaintiff Gorrell started his shift at 18:00 on Friday and worked until 06:00 on Saturday,

Plaintiff Gorrell would list in his online timesheet that he worked twelve (12) hours on Friday

only.

        5.     The result of Defendant’s time-keeping policy was that Plaintiff Gorrell and other

similarly situated employees working the Late Peak and Night shifts on Fridays of Week A and

into Saturday of Week B would have to list all of their hours worked on Friday of Week A, even

though a portion of their shift was during Week B. Accordingly, Defendants were wrongfully

compensating these employees at their regular rate when the portion of these employees’ shifts

worked in Week B should have been paid at one and one-half (1.5) times their regular rate because

these employees worked in excess of forty (40) hours in Week B.

        6.     Defendant, through its supervisors, was aware that Plaintiff and other similarly

situated employees were working in excess of forty (40) hours per week in Week B but were

counting a portion of these hours worked in Week A, thereby limiting the amount of overtime

compensation. Defendant suffered or permitted, and in fact, required Plaintiffs to work in excess

of forty (40) hours per week without being compensated for time and a half (1.5) for all of their

overtime work.

        7.     Defendant’s practice of failing to compensate Plaintiffs at the appropriate minimum



                                                  2

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 2 of 14
and overtime rate(s) for all hours worked violated Plaintiffs’ rights under the FLSA.

       8.      Plaintiff Gorrell brings this action for violation of the FLSA as a collective action,

pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of the following class:

       All individuals who were, are, or will be employed by Defendant in Wake County,
       North Carolina, as paramedics, emergency medical technicians, field training
       officers, or in similar positions, at any time within the three (3) years prior to the
       date of commencement of this action, through the present, and who were not
       compensated at the appropriate one and one-half (1.5) of their regular hourly rate
       for all hours worked in excess of forty (40) per week.

       9.      Defendant is liable for its failure to pay Plaintiffs for all work performed and at the

appropriate overtime rate for hours worked in excess of forty (40) per week, as well as for all losses

to Plaintiffs’ retirement-benefits plans caused by Defendant’s illegal time-keeping policy.

       10.     Plaintiffs who elect to participate in this FLSA collective action seek compensation

at the appropriate overtime rate for all hours worked in excess of forty (40) per week, an equal

amount of liquidated damages, prejudgment interest, and attorneys’ fees and costs, pursuant to 29

U.S.C. § 216(b).

                                 JURISDICTION AND VENUE

       11.     The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.

       12.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 for the claims

brought under the FLSA, 29 U.S.C. § 201 et seq.

       13.     The United States District Court for the Eastern District of North Carolina has

personal jurisdiction because Defendant conducts business in Wake County, North Carolina,

which is located within this District.

       14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), inasmuch as

Defendant conducted business in the Eastern District of North Carolina and a substantial part of

                                                  3

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 3 of 14
the events or omissions giving rise to these claims occurred in this District.

       15.     All of the alleged causes of action can be determined in this judicial proceeding and

will provide judicial economy, fairness, and convenience for the parties.

                                             PARTIES

       16.     The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.

       17.     Plaintiff Gorrell is an adult resident of the State of North Carolina, residing at 1016

Northclift Drive, Raleigh, North Carolina 27609.

       18.     Plaintiff Gorrell is currently employed by Defendant, through the Wake County

Department of Emergency Medical Services, as an hourly paid paramedic and has held that

position since approximately 2020. Plaintiff Gorrell previously held the position of paramedic

from approximately 2006 to 2015, and he held the position of field training officer from

approximately 2015 to 2020.

       19.     The FLSA collective action Plaintiffs consist of individuals who were, are, or will

be employed by Defendant as hourly paid, full-time emergency medical personnel—including but

not limited to emergency medical technicians, paramedics, and field training officers—at any time

within the three (3) year period prior to joining this lawsuit under 29 U.S.C. § 216(b) and who did

not receive compensation for all hours worked, including one and one-half (1.5) times their regular

rate for all hours worked over forty (40) in a week.

       20.     Defendant was and is a political subdivision and county of the State of North

Carolina, duly chartered and existing pursuant to the provisions of N.C. Gen. Stat. § 153A-10 and

vested with corporate powers and rights as specified in N.C. Gen. Stat. § 153A-11, including but

not limited to the capacity to sue and be sued. At all times relevant, Defendant acted through its



                                                  4

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 4 of 14
managers, departments, and policy makers, including the Wake County Department of Emergency

Medical Services and its employees, and the acts, edicts, and practices of said persons represent

the official policies of Defendant.

                                          COVERAGE

       21.     The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.

       22.     At all times relevant to this action, Defendant has been a public agency within the

meaning of the FLSA, 29 U.S.C. § 203(x).

       23.     At all times relevant to this action, Defendant has been an employer within the

meaning of the FLSA, 29 U.S.C. § 203(d).

       24.     At all times relevant to this action, Defendant has been an enterprise engaged in

commerce or the production of goods for commerce as defined by the FLSA, 29 U.S.C. §§ 203(s),

203(r), because Defendant acts as a public agency and such activities “shall be deemed to be

activities performed for a business purpose” under Section 203(r)(2)(C).

       25.     At all times relevant to this action, Plaintiffs have been employees within the

meaning of the FLSA, 29 U.S.C. § 207.

                                  FACTUAL ALLEGATIONS

       26.     The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.

       27.     Defendant, through the Wake County Department of Emergency Medical Services,

is responsible for providing emergency ambulance service throughout Wake County, North

Carolina, on a twenty-four (24) hour per day basis.

       28.     Defendant, through the Wake County Department of Emergency Medical Services,



                                                5

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 5 of 14
employs emergency medical technicians, paramedics, and field training officers who are

responsible for administering medical care and for the transportation of sick or injured persons in

response to emergency and non-emergency calls.

       29.     Plaintiff Gorrell has been employed by Defendant, through the Wake County

Department of Emergency Medical Services, from approximately 2015 through the present.

       30.     Plaintiff Gorrell’s job duties include but are not limited to responding to emergency

calls as a driver or attendant, administering necessary emergency medical care, treatment of

injuries to body parts, and lifting and moving patients for transfer to a medical facility.

       31.     At all relevant times to this action, Plaintiffs were not responsible for performing

fire protection or law enforcement activities.

       32.     When Plaintiffs are hired, Defendant advised Plaintiffs they would be compensated

pursuant to an hourly rate for the first forty (40) hours of work and that they would be compensated

at a rate of one and one-half (1.5) times their regular hourly rate for any hours worked over forty

(40), i.e., overtime pay.

       33.     Pursuant to Defendant’s policy, the standard shift for Plaintiffs is a twelve (12) hour

assignment, and Plaintiffs’ schedules are on a rotating schedule, which rotates biweekly.

       34.     Pursuant to Defendant’s policy, shifts have staggered start times: Day (06:00–

07:30); Early Peak (09:00–11:00); Late Peak (14:00–15:00); and Night (18:00–19:30).

       35.     Pursuant to Defendant’s policy, the structure of the FLSA workweek for Plaintiffs

is that the workweek starts at 00:00 on Saturday and ends at 23:59 on the following Friday.

       36.     Pursuant to Defendant’s policy, Plaintiffs’ biweekly schedule is as follows: in week

A, an employee would work three (3) twelve-hour shifts, and the following week, Week B, the

employee would work four (4) twelve-hour shifts.              Accordingly, Plaintiffs would work



                                                  6

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 6 of 14
approximately thirty-six (36) hours in Week A and approximately forty-eight (48) hours in Week

B.

       37.     Further, Defendant’s policy required employees working the Late Peak or Night

shift—which meant a portion of their hours worked was on two separate days—to record all of

their hours worked on the day their shift started instead of on the two separate days that they

actually worked.

       38.     However, for any Continuing Medical Education (CME) training classes

employees were required to work, Defendant’s policy required employees to list their hours on the

day the CME class was actually completed. This was in line with Defendant’s policy that

“Departments[, such as the Wake County Department of Emergency Medical Services,] are not

allowed to ‘carry over’ extra hours worked in one workweek to another workweek.”

       39.     The result of Defendant’s time-keeping policy for regular hours worked (as

opposed to hours worked on CME classes) was that Plaintiffs working the Late Peak and Night

shifts on Fridays of Week A and into Saturday of Week B would have to list their hours worked

on Friday of Week A, even though a portion of their shift was during Week B and thus should

have been compensated at one and one-half (1.5) times their regular pay.

       40.     Further, the result of Defendant’s time-keeping policy for regular hours worked

was that Plaintiffs’ workweek in Week A for FLSA purposes was one hundred seventy-four (174)

hours instead of one hundred sixty-eight (168) hours as required by the FLSA because Plaintiffs

would have to move or ‘carry over’ an additional six (6) hours or more to Week A from Week B

when they worked the Late Peak or Night shift on Friday of Week A.

       41.     Upon information and belief, Defendant first implemented the following plan in

approximately 2008 and has not changed it since its implementation. Accordingly, Plaintiffs have



                                               7

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 7 of 14
been continuously subjected to Defendant’s time-keeping policy for over three years prior to filing

the present action.

       42.     Defendant’s own policy states that “[a]ll schedules must be in accordance with the

Fair Labor Standards Act (FLSA).” This policy further provides: “However, it shall be Wake

County policy to avoid overtime work whenever possible.”

       43.     As described herein, Defendant willfully violated Plaintiffs’ rights by failing to pay

them the wages they were owed.

       44.     Upon information and belief, at all times relevant to this action, Defendant’s

uniform approach throughout their operations in compensating Plaintiffs was intentionally done to

evade their obligations under the FLSA.

       45.     Not only did Defendant’s time-keeping policy affect Plaintiffs’ overtime-pay

calculations, it also negatively affected Plaintiffs’ retirement-benefits plans.

       46.     As full-time, benefit-eligible employees, Plaintiffs were offered and automatically

enrolled into two retirement-benefits plans: (1) the Local Governmental Employee’s Retirement

System (LGERS) Pension Plan and (2) the North Carolina Total Retirement Plans 401(k)

Contribution plan (hereinafter, “401(k) Plan”).

       47.     Benefit-eligible employees, such as Plaintiffs, are automatically members of the

LGERS Pension Plan upon being hired by Defendant and are required to contribute six (6) percent

of their gross salary each month through pre-tax payroll deductions.

       48.     As for the employer’s contribution to the LGERS Pension Plan, Defendant and the

Wake County Department of Emergency Medical Services were required to contribute an

actuarially-determined percentage of the gross payroll of members each month to the LGERS

Pension Plan for benefits.



                                                  8

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 8 of 14
       49.      Upon retirement, an employee enrolled in the LGERS Pension Plan receives an

annual benefit, which is 1.85% of the employee’s average final compensation times the total years

and months of creditable service. Average final compensation is “the average of [the employee’s]

salary during [their] four highest-paid years in a row.”

       50.      Thus, Defendant’s time-keeping policy negatively affects Plaintiffs’ benefits under

the LGERS Pension Plan in two ways: (1) it lowers the amounts contributed by Defendant, through

Wake County Department of Emergency Medical Services, and the employee each month into the

Plan; and (2) it decreases an employee’s average final compensation, which determines an

employee’s annual benefit upon retirement.

       51.      As for the 401(k) Plan, Plaintiffs are automatically enrolled in this Plan upon being

hired, and Defendant automatically contributes five (5) percent (pre-tax) annually to Plaintiffs’

401(k) Plans.

       52.      Pursuant to Defendant’s policy, there are annual contribution limits for Plaintiffs—

if under the age of fifty (50), employees are capped at $19,500.00, including Defendant’s

contribution, per year; if over the age of fifty, employees may contribute an additional $6,000.00.

       53.      Thus, Defendant’s time-keeping policy negatively affects Plaintiffs’ benefits under

the 401(k) Plan in two ways: (1) it lowers the amount contributed by Defendant, through the Wake

County Department of Emergency Medical Services, into the 401(k) Plan each year; and (2) by

failing to properly pay Plaintiffs for all overtime hours worked, Plaintiffs have less money to invest

into their 401(k) Plans.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       54.      The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.



                                                  9

             Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 9 of 14
        55.     For purposes of the FLSA collective action claims, similarly situated employees

include individuals who were, are, or will be employed by Defendant as full-time, nonexempt

emergency medical personnel, including but not limited to emergency medical technicians,

paramedics, and field training officers, at any time within the three (3) year period prior to joining

this lawsuit under 29 U.S.C. § 216(b) and who did not receive compensation for all hours worked,

including one and one-half (1.5) times their regular rate for all hours worked over forty (40) in a

week.

        56.     There are numerous (in excess of three hundred (300), upon information and belief)

similarly situated current and former employees in North Carolina that fall within the scope of the

aforementioned proposed collective class.

        57.     The members of the proposed collective action, like Plaintiff Gorrell, were

employed as emergency personnel and were subject to the same or similar pay practices.

        58.     The members of the proposed collective action are known to Defendant, are readily

identifiable, and may be located through Defendant’s records.

        59.     Pursuit of this action collectively will provide the most efficient mechanism for

adjudicating the claims of Plaintiffs.

        60.     Plaintiff Gorrell requests that he be permitted to serve as representative of those

who consent to participate in this action and that this action be conditionally certified as a collective

action pursuant to 29 U.S.C. § 216(b).

        61.     Pursuant to 29 U.S.C. § 216(b), attached hereto and filed with the instant Complaint

as Exhibit A is a Consent to File Suit as Plaintiff executed by Plaintiff Gorrell.




                                                   10

           Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 10 of 14
                              FIRST CAUSE OF ACTION
  Violation of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq, Brought by Plaintiff
            Gorrell on Behalf of Himself and All Similarly Situated Employees

        62.    The allegations set forth in the preceding paragraphs are realleged and incorporated

herein by reference.

        63.    Under the FLSA, an “employee” is defined as “any individual employed by an

employer[,]” 29 U.S.C. § 203(e)(1), and an “employer” is defined as “any person acting directly

or indirectly in the interest of an employer in relation to an employee and includes a public

agency,” Id. § 203(d). The FLSA further defines “employ” broadly, covering anyone who is

“suffer[ed] or permit[ed] to work.” Id. § 203(g).

        64.    At all relevant times, Defendant has been and continues to be an “employer”

engaged in “commerce” and/or the production of “goods” for “commerce” within the meaning of

the FLSA, 29 U.S.C. §§ 203(s), 203(r), given Defendant acts as a public agency and such activities

“shall be deemed to be activities performed for a business purpose” under Section 203(r)(2)(C).

        65.    At all relevant times, Defendant has employed and continues to employ

“employee[s,]” including Plaintiff Gorrell and each of the members of the prospective FLSA class,

within the meaning of the FLSA.

        66.    Pursuant to the FLSA, 29 U.S.C. § 207(a), employers must pay non-exempt

employees at a rate of one and one-half (1.5) times their regular rate of pay for all hours worked

over forty (40) in a single workweek.

        67.    At all relevant times, Plaintiffs were non-exempt, covered employees under the

FLSA.

        68.    In addition, no exemption under the FLSA applies to Plaintiffs because Plaintiffs

do not qualify as exempt under Section 207(k) given Plaintiffs were not “employee[s] in fire



                                                11

          Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 11 of 14
protection activities or . . . employee[s] in law enforcement activities” within the meaning of the

FLSA.

         69.    As a result of Defendant’s corporate policy requiring Plaintiffs to record all of their

hours worked on the day their shift started, instead of on the days they actually worked, Defendant

failed to compensate Plaintiffs at the rate of one and one-half (1.5) times their regular hourly rate

each workweek for all hours worked over forty (40) in a workweek in violation of 29 U.S.C. §

207.

         70.    Plaintiffs are entitled to back wages at a rate of at least one and one-half (1.5) times

their regular rate of pay.

         71.    Defendant’s failure to pay Plaintiffs at the appropriate rate for hours worked in

excess of forty (40) per week, despite the fact that, upon information and belief, Defendant knew

of its obligations under the law, entitles Plaintiffs to liquidated damages in an amount equal to the

amount of unpaid wages under 29 U.S.C. § 216(b), given Defendant cannot show it acted in good

faith.

         72.    The foregoing conduct, as alleged above, constitutes willful violations of the FLSA

under 29 U.S.C. § 255(a), permitting the recovery of unpaid wages for up to three (3) years rather

than two (2) years.

         73.    As such, Plaintiffs seek to recover from Defendant the following damages:

                a.      Overtime wages due, including the losses to Plaintiffs’ retirement-benefits

                        plans;

                b.      Liquidated damages in an equal amount;

                c.      Prejudgment interest;

                d.      Reasonable attorneys’ fees and costs; and



                                                  12

           Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 12 of 14
               e.      All other legal and equitable relief as the Court deems just and proper.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Gorrell, on behalf of himself and all those similarly situated, prays

that this Honorable Court:

       1.      Issue an Order certifying this action as a collective action under the FLSA and

designate Plaintiff Gorrell as a representative of all those similarly situated under the FLSA

collective action;

       2.      Award Plaintiff Gorrell and all those similarly situated actual damages for all

unpaid wages found due to Plaintiff Gorrell and those similarly situated, including losses to

Plaintiffs’ retirement-benefits plans, and liquidated damages equal in amount, as provided by the

FLSA, 29 U.S.C. § 216(b);

       3.      Award Plaintiff Gorrell and all those similarly situated interest at the statutory rate,

pursuant to the FLSA, 29 U.S.C. § 216(b) and consistent with 28 U.S.C. § 1961;

       4.      Award Plaintiff Gorrell and all those similarly situated attorneys’ fees, costs, and

disbursements, pursuant to the FLSA, 29 U.S.C. § 216(b); and

       5.      Award Plaintiff Gorrell and all those similarly situated further legal and equitable

relief as this Court deems necessary, just, and proper.



                                       JURY DEMANDED

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Gorrell hereby

demands a trial by jury on all issues so triable.




                                                    13

            Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 13 of 14
This 16th day of March, 2021.


                                OXENDINE BARNES & ASSOCIATES PLLC

                                By:   /s/ Ryan D. Oxendine__________________
                                      Ryan D. Oxendine (NC State Bar # 27595)
                                      James A. Barnes IV (NC State Bar # 33356)
                                      6500 Creedmoor Rd., Suite 100
                                      Raleigh, NC 27613
                                      Telephone: 919-848-4333
                                      Fax: 919-848-4707
                                      ryan@oxendinebarnes.com
                                      jim@oxendinebarnes.com
                                      Attorneys for Plaintiffs




                                        14

  Case 5:21-cv-00129-M Document 1 Filed 03/16/21 Page 14 of 14
